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8                            UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                           CASE NO. 18CR5236-LAB
12                                        Plaintiff,      ORDER REQUIRING THE
             vs.                                          GOVERNMENT TO SUPPLEMENT ITS
13                                                        BRIEFING IN SUPPORT OF MOTION
                                                          TO FILE EXHIBITS UNDER SEAL
14    ADOLFO ESCOBAR,
15                                     Defendant.
16
17          In support of its opposition to Defendant Adolfo Escobar’s sentence to reduce his
18   sentence, the government filed a motion for leave to file certain documents under seal. the
19   motion gives a general explanation of the need for sealing, without identifying the standard
20   or explaining why the standard is met. The government’s proposed order, however, suggests
21   it believes the “good cause” standard applies.
22          In general, criminal proceedings (including post-trial proceedings) and the documents
23   filed in them are presumed to be open. CBS, Inc. v. U.S. Dist. Ct. for Cent. Dist. of Calif., 765
24   F.2d 823 825 (9th Cir. 1985). The motion does not make clear whether the government
25   considers the documents presumptively open, in which case the standard would be the
26   higher “compelling reasons” test. See United States v. Doe, 870 F.3d 991, 997 (9th Cir. 2017)
27   (discussing the standard for sealing documents in support of a motion for sentence
28   reduction).


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1           The government is ORDERED to file a supplemental brief addressing the standard
2    for sealing, and explaining why it is met in this case.
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4           IT IS SO ORDERED.
5    DATED: January 11, 2021                    ___________________________________
6                                               HONORABLE LARRY ALAN BURNS
                                                Chief United States District Judge
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